      Case 4:15-cr-06049-EFS     ECF No. 548    filed 10/20/17   PageID.2125 Page 1 of 2




 1
 2
 3
 4
 5
 6                         UNITED STATES DISTRICT COURT
 7                       EASTERN DISTRICT OF WASHIGNTON
 8
 9   UNITED STATES OF AMERICA,                       No. 4:15-CR-06049-EFS-7
10
11                       Plaintiff,                  ORDER GRANTING
                                                     DEFENDANT’S MOTION TO
12                        v.                         MODIFY
13   GABRIELA MENDOZA VASQUEZ,
14                                                           MOTION GRANTED
                                                               (ECF No. 542)
15                       Defendant.
16
17
18         Before this Court is Defendant’s Motion to Modify Release Conditions.
19   ECF No. 542. Defendant requested modification of Special Release Condition No.
20   4, requiring electronic home monitoring, to permit her to travel to local restaurants
21   and parks with her children. Subsequently Defendant constructively amended her
22   request, and asked that Special Condition No. 4 be deleted altogether. ECF 545.
23         Defendant, through the declaration of counsel, ECF No. 545, recites that
24   U.S. Probation has no objection to the request. Id. at 1. The United States’ in its
25   response, ECF No. 546, recites that it also has no objection to the request.
26         Therefore, IT IS HEREBY ORDERED, that Defendant’s Motion, ECF
27   No. 542, is GRANTED AS AMENDED, and that Defendant is relieved from
28   compliance with Special Condition No. 4.

     ORDER - 1
      Case 4:15-cr-06049-EFS    ECF No. 548   filed 10/20/17   PageID.2126 Page 2 of 2




 1         All previously ordered conditions not inconsistent herewith to remain in full
 2   force and effect.
 3         IT IS SO ORDERED.
 4         DATED October 20, 2017.
 5
 6                               _____________________________________
                                           JOHN T. RODGERS
 7                                UNITED STATES MAGISTRATE JUDGE
 8
 9
10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28

     ORDER - 2
